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                           UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION


UNITED STATES OF AMERICA,              )      5:09 cr 50115
                                       )
                    Plaintiff,         )          SENTENCING MEMORANDUM
             -vs-                      )
                                       )
LARRY HOPKINS,                         )
                                       )
                                       )
                    Defendant.         )


      COMES NOW, LARRY HOPKINS, by and through his attorney of record,

Lorie D. Melone and files this Sentencing Memorandum in support of his specific

sentencing request for probation with an imposition of restitution. This

memorandum is made pursuant to the United States Supreme Court decisions in

United States v. Booker, 543 U.S. 220 (2005), Rita v. United States, 127 S. Ct. 2456

(2007), and United States v. Gall, 128 S.Ct. 586 (2007), and is respectfully

submitted to provide information to assist the Court in fashioning a sentence

“sufficient but not greater than necessary” to achieve the statutory purposes of

punishment, as required by 18 U.S.C. § 3553(a).

                                      FACTS

A.    Offense Related Facts.

      The Defendant is a Veteran of the United States Army and served in Vietnam
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from 1967-1970. He received an Honorable Discharge. At the age of seventeen (17),

he enlisted. Prior, he had been raised by an extremely abusive step-father beginning at

the age of four (4). He was forced to use the step-father’s last name, “King”. At the

age of thirteen (13), Larry was taken out of school by his step-father to work at King

Logging. The step-father told Larry he didn’t need anymore schooling other than

reading, writing and arithmetic. So, he was placed in logging camps. These camps

were in the wilderness.

        Larry was a 13 year old boy working as a choker setter doing a man’s job. He

also had additional jobs which had to be completed before he could eat. More often

than not, by the time he completed said tasks, there was nothing left to eat. The step-

father would say, “you haven’t worked hard enough to eat beans boy” so he fed Larry

mush.     Larry was often made the “butt” of the jokes. For the step-father’s

entertainment, he would look at the other loggers and tell them Larry said “stuff” about

them forcing a fist fight with men while his step-father placed bets.

        At the age of seventeen (17), Larry’s sister became pregnant outside of

wedlock. Larry made the mistake of sharing that with an adult logger. The step-

father took his 30/30 shoot gun out of the closet and said, “Why, I ought’a shoot

you boy. What right do you have telling anybody your sister is pregnant.” Due to

this incident, Larry was kicked out of the house with two boxes of clothes in the

middle of the wilderness. A trucker then picked him up walking and gave Larry
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$100.00. He took him Aunt and Uncles residence. Larry was raised by his Aunt

and Uncle and spent the rest of his life hiding from his step-father and mother.

      Larry began his exposure to the Court system at that time. The Court stepped

in and gave him a choice between military or a boys’ home for neglected children.

He chose the military. That was the first time he used his birth name of Larry

Hopkins.

      At the age of twenty-one (21), he entered the entertainment business and

used the name of Johnny Horton, Jr. which he has used ever since. Any other

names used were associated with either his middle name or a nickname. The

relationship between Larry Hopkins and his step-father Albert King was never

healed.

      Larry will be sixty-two (62) years of age in June and has been diagnosed with

lymphoma skin cancer. He suffers from additional health problems. Larry has a

scheduled biopsy on the 19th of April, 2011.However, he is a good musician and

recording artist. He has been inducted into the Traditional Country Opre and has an

independent label, Star Dust Records. He has a paying concert on the 13th and 17th of

April, 2011 in Nashville.

      Larry has never met the child of whom he owes support. He had been

advised, while he was in prison that the child had died. He is willing to pay support

and make every attempt to continue to do so as a condition of his probation, if
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granted.

                       ARGUMENT AND AUTHORITIES

A.    Introduction.

      District courts are free to engage in the fact finding necessary to satisfy the

complete objectives of 18 U.S.C. § 3553(a) without regard to the guidelines. “The

sentencing judge has access to, and greater familiarity with, the individual case and

the individual Defendant before him than the Commission or the appeals court.”

Rita at 2469. The Supreme Court has determined that the sentencing judge must be

free to disagree with the guidelines, based on policy alone, in pronouncing a

sentence. Rita, 127 S. Ct. at 2465.

Appropriate Sentence Pursuant to § 3553(a)

      Section 3553(a) requires courts to “impose a sentence sufficient, but not

greater than necessary, to comply with the purposes set forth in paragraph (2).”

(Emphasis added). Section 3553(a)(2) states that such purposes are: (A) to reflect

the seriousness of the offense, to promote respect for the law, and to provide just

punishment for the offense; (B) to afford adequate deterrence; (C) to protect the

public from further crimes of the defendant; and (D) to provide the defendant with

needed educational or vocational training, medical care, or other correctional

treatment in the most effective manner.

      In this case, failure to pay child support has an impact on the community as a
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whole and directly impacts a child’s standard of living. However, it is not a violent

offense. Twenty-four months in a federal prison for a financial debt does not

provide deterrence. Imprisonment for this crime only increases the restitution

amount.

      Five years of probation, as opposed to imprisonment, would afford the

Defendant time to pay restitution. 18 U.S.C. § 3553(a)(7); U.S. v. Peterson 363 F.


Supp. 2d 1060 (E.D. Wisc. 2005) and U.S. v. Coleman, 370 F. Supp. 2d 661 (S.D.

Ohio 2005).

      Section 3553(a) further directs sentencing courts to consider: (1) the nature

and circumstances of the offense and the history and characteristics of the

defendant; (2) the kinds of sentences available; (3) the sentencing range established

by the guidelines; (4) any pertinent policy statement issued by the Sentencing

Commission; (5) the need to avoid unwarranted sentencing disparities among

defendants with similar records who have been found guilty of similar conduct; and

(6) the need to provide restitution to any victims of the offense.

      In the present case, the relevant § 3553(a) factors warrant a sentence of

probation. A period of probation with conditions is more than sufficient to reflect

the seriousness of the crime, provide just punishment, afford adequate deterrence,

protect the public and provide the Defendant with the ability to meet family needs.
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      The guidelines carry no special weight and, indeed, the Court can find that a

sentence outside the guideline range is appropriate because “the Guidelines

sentence itself fails properly to reflect § 3553(a) considerations,” or “the case

warrants a different sentence regardless.” Rita,127 S. Ct. at 2465 (emphasis

supplied). The Court must simply reach a reasonable sentence based upon all of the

§ 3553(a) factors.

      Larry’s advisory guideline range set forth is over the Statutory maximum. He

would serve 24 months, in accordance with the guidelines. However, he is

statutorily eligible for probation. Probation can be imposed so long as the court

imposes “a condition or combination of conditions requiring a period of community

confinement, home detention, or intermittent confinement sufficient to satisfy the

minimum term of imprisonment specified in the guideline range.” U.S.S.G. §

5B1.1, commentary note 1(b).      Thereafter, the Court should further provide a

departure or variance from imprisonment to probation based on Larry’s health and

history with the military.

      CONCLUSION

      Larry Hopkins requests that the Court provide him a sentence of probation

because restitution is an issue in this case. Larry Hopkins is capable of earning a

living. As the Court is mindful of the extraordinary expense of an incarceration

sentence in this case, to incarcerate the Defendant would force society to pay rather
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than have Larry Hopkins earn a living to pay back his child support obligation to

the victim. For all of the reasons set forth herein above, Defendant requests

probation.

      Dated this 6th day of April, 2011.

                                Respectfully submitted,

                                LORIE D. MELONE, PC
                                                   /s/Lorie D. Melone
                                Lorie D. Melone
                                Attorney for Defendant
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                         CERTIFICATE OF SERVICE


      It is hereby certified that a true and correct copy of the Defendant’s
Sentencing Memorandum was mailed electronically to:


                   Carolyn G. Olson
                   Assistant U.S. Attorney
                   515 Ninth Street, Room 201
                   Rapid City, SD 57701


Dated this 6th day of April, 2011.




                              Respectfully submitted,
                              /s/ Lorie D. Melone
                              Lorie D. Melone
